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     Class.
     XXVII.       NON-DISPARAGEMENT

             A.     Plaintiffs, Additional Plaintiffs, and their attorneys agree not to disparage or
     otherwise take any action which could reasonably be expected to adversely affect the
     personal or professional reputation of the Discharged Parties. The Settling Defendants and
     their attorneys agree not to disparage or otherwise take any action which could reasonably
     be expected to adversely affect the personal or professional reputation of Class Counsel,
     Plaintiffs Counsel, the Class Representatives, and Additional Plaintiffs regarding this
     matter or any of the Neuriva Actions.

     EXECUTED AND AGREED.

     By:                                             By:
     __________________________________
     Howard Clark                                    E. Yuri Hermida
     Plaintiff and Class Representative              Defendant Reckitt Benckiser LLC

     By:                                             By:
     __________________________________
     L. Timothy Fisher, Bursor & Fisher PA           Greg Chabidon
     Counsel for Howard Clark                        Defendant RB Health (US) LLC

     By:                                             By:
     __________________________________
     Thomas Matthews                                 David T. Biderman
     Plaintiff and Class Representative              Counsel for Defendants Reckitt Benckiser
                                                     LLC and RB Health (US) LLC
     By:
     __________________________________
     David Williams
     Plaintiff and Class Representative



     By:
     __________________________________
     Caroll Anglade
     Plaintiff and Class Representative

     By:
     __________________________________
     Greg Coleman, Greg Coleman Law PC
     Counsel for Plaintiffs Thomas Matthews,
     David Williams, and Caroll Anglade


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     Class.
     XXVII.       NON-DISPARAGEMENT

             A.     Plaintiffs, Additional Plaintiffs, and their attorneys agree not to disparage or
     otherwise take any action which could reasonably be expected to adversely affect the
     personal or professional reputation of the Discharged Parties. The Settling Defendants and
     their attorneys agree not to disparage or otherwise take any action which could reasonably
     be expected to adversely affect the personal or professional reputation of Class Counsel,
     Plaintiffs’ Counsel, the Class Representatives, and Additional Plaintiffs regarding this
     matter or any of the Neuriva Actions.

     EXECUTED AND AGREED.

     By:                                            By:
     __________________________________
     Howard Clark                                    Chris Tedesco
     Plaintiff and Class Representative              Defendant Reckitt Benckiser LLC

     By:                                            By:
     __________________________________
     L. Timothy Fisher, Bursor & Fisher PA           Greg Chabidon
     Counsel for Howard Clark                        Defendant RB Health (US) LLC

     By:                                            By:
     __________________________________
     Thomas Matthews                                 David T. Biderman
     Plaintiff and Class Representative              Counsel for Defendants Reckitt Benckiser
                                                     LLC and RB Health (US) LLC
     By:
     __________________________________
     David Williams
     Plaintiff and Class Representative



     By:
     __________________________________
     Caroll Anglade
     Plaintiff and Class Representative

     By:
     __________________________________
     Greg Coleman, Greg Coleman Law PC
     Counsel for Plaintiffs Thomas Matthews,
     David Williams, and Caroll Anglade


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